                                    IN THE UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF VIRGINIA
                                             DANVILLE DIVISION

                                 CRIMINAL MINUTES - GUILTY PLEA HEARING

 Case No.: 4:18CR00012-002                   Date: 11/6/2018

 Defendant: Demetrius Allen Staten, custody                         Counsel: Rhonda Quagliana, CJA

 PRESENT:         JUDGE:                     Michael F. Urbanski, CUSDJ          TIME IN COURT: 5:41- 6:14 33 minutes
                  Deputy Clerk:              Kristin Ayersman
                  Court Reporter:            Mary Butenschoen
                  U. S. Attorney:            Heather Carlton, Ron Huber
                  USPO:                      Larry Breckenridge
                  Case Agent:                Devin Taylor, FBI
                  Interpreter:               none

 PROCEEDINGS:

          Waiver of Indictment filed.
          Information filed.
          Plea Agreement filed with court; SOF filed with the court.
          Defendant advised of right to have U. S. District Judge accept plea. Defendant waives this right, and executes
          Consent to Allow U. S. Magistrate Judge to accept plea
          Defendant re-arraigned as to Counts Enter counts to which pleading guilty
          Defendant placed under oath. Court questions defendant regarding his/her physical and mental condition, and
          advises defendant of his/her rights, and the nature and possible consequences of plea.
          Court accepts plea of guilty.
          Guilty plea form executed and filed.
          Government summarizes evidence to support plea and rests.
          Court finds defendant guilty as charged in Counts One.
          OR
          U. S. Magistrate Judge accepts plea of guilty to Counts enter counts to which defendant pled guilty and will
          recommend that the U. S. District Judge find the defendant guilty of said counts.

 DEFENDANT PLEADS:
 (list counts)


    DEF. #             GUILTY                NOT GUILTY              NOLO                      REMARKS
              Ct 1
      1

      2

      3

      4

          Court orders Presentence Report.
          Copy of Presentence Report not requested.
          Defendant to remain on bond.
          Defendant remanded to custody.
          Sentencing hearing scheduled for TBA before Judge Urbanski.




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 Additional Information:




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